                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA

UNITED STATES OF AMERICA                                     )
                                                             )
v.                                                           )       No. 4:09-cr-00049-007-TRM-MJD
                                                             )       No. 1:23-cr-00052-001-TRM-MJD
EDDIE SANDERS                                                )

                                    MEMORANDUM AND ORDER

        EDDIE SANDERS (“Defendant”), came before the Court for an initial appearance on
February 3, 2024, in accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the
Petition for Warrant for Offender Under Supervision [Doc. 49] (the "Petition").

        After being sworn in due form of law, Defendant was informed of his privilege against
self-incrimination under the 5th Amendment and his right to counsel under the 6th Amendment to
the United States Constitution.

        The Court determined Defendant wanted to be represented by an attorney and that he
qualified for the appointment of an attorney to represent him at government expense.
Consequently, the Court APPOINTED Attorney Clay Whittaker of Federal Defender Services of
Eastern Tennessee, Inc., to represent Defendant. 1

       Defendant was furnished with a copy of the Petition, and had an opportunity to review that
document with his attorney. The Court determined that Defendant was able to read and understand
the Petition with the assistance of his counsel. In addition, AUSA Jay Woods explained to
Defendant the specific charges contained in the Petition. Defendant acknowledged that he
understood the charges in the Petition.

        The Government moved Defendant be detained pending disposition of the Petition or
further Order of this Court. The Court explained Defendant’s right to a preliminary hearing and
detention hearing and what those hearings entail. Defendant conferred with his counsel and
requested the preliminary hearing and the detention hearing. At counsel’s request, these hearings
were scheduled on February 6, 2025.

        The Court finds that probable cause exists to demonstrate that Defendant has committed
violations of his conditions of supervised release and that Defendant has not carried the burden of
establishing by clear and convincing evidence that he will not flee or pose a danger to any other
person or to the community. Consequently, the Court GRANTED the Government’s oral motion
to detain Defendant pending disposition of the Petition or further Order of this Court following the
preliminary hearing and detention hearing. It is, therefore, ORDERED that:

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  FDS Attorney Gianna Maio actually represented Defendant at the Initial Appearance; however, she indicated that
the FDS Attorney who will be handling the case is Clay Whittaker.



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         1. The United States Marshal’s Service shall arrange to have Defendant
            present in Court for his preliminary hearing and detention hearing on
            February 6, 2025, at 10:00 a.m.

         2. The Government’s motion that Defendant be DETAINED WITHOUT
            BAIL pending further Order of this Court is GRANTED.

         3. Counsel for Defendant and the Government shall confer and make best
            efforts to submit to the Honorable Chief United States District Judge Travis
            R. McDonough a proposed Agreed Order with respect to an appropriate
            disposition of the Petition.

         4. In the event counsel are unable to reach agreement with respect to an
            appropriate disposition of the Petition, they shall request a hearing before
            Chief Judge McDonough.

      SO ORDERED.

                                          /s/ Christopher H. Steger
                                          UNITED STATES MAGISTRATE JUDGE




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